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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-08574-RSWL-PLAx                                       Date   October 15, 2020
 Title             Kimberly Frazier v. Robert Frank, et al.




 Present: The                    RONALD S.W. LEW, Senior U.S. District Judge
 Honorable
                      Catherine Jeang                                          Not Present
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                           Not Present
 Proceedings:                 (IN CHAMBERS) ORDER TO SHOW CAUSE RE EXERCISE OF
                              SUPPLEMENTAL JURISDICTION RE STATE LAW CLAIMS


The Court ORDERS Plaintiff to SHOW CAUSE in writing why the Court should
exercise supplemental jurisdiction over the Unruh Act and other state law claims asserted
in the Complaint.


Plaintiff shall file a Response to this Order to Show Cause by no later than October 22,
2020.


Failure to timely or adequately respond to this Order to Show Cause may, without further
warning, result in the dismissal of the entire action without prejudice or the Court
declining to exercise supplemental jurisdiction over the state law claims and the dismissal
of those claims pursuant to 28 U.S.C. § 1367(c).




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                                                               Initials of Preparer           CMJ



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